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                 Exhibit 3
To Defendant Concord Management
 and Consulting LLC’s Motion to
        Compel Discovery
                 Case 1:18-cr-00032-DLF Document 229-3 Filed 11/05/19 Page 2 of 3




From:                              Seikaly, Kate J
Sent:                              Monday, August 26, 2019 4:13 PM
To:                                Kravis, Jonathan (USADC); Curtis, Deborah (USADC); Rakoczy, Kathryn (USADC); Alpino,
                                   Heather (NSD) (JMD)
Cc:                                Dubelier, Eric A.
Subject:                           RE: Concord Discovery Request
Attachments:                       August 26 Discovery Request.PDF


Hi Jonathan,

Please see the attached discovery request. Also, can you please let me know the status of your response to our June 5
discovery request?

Thanks,
Kate

From: Kravis, Jonathan (USADC)
Sent: Monday, June 17, 2019 8:42 AM
To: Seikaly, Kate J ; Curtis, Deborah (USADC) ; Rakoczy, Kathryn (USADC) ; Alpino, Heather (NSD) (JMD)
Cc: Dubelier, Eric A.
Subject: RE: Concord Discovery Request

EXTERNAL E-MAIL

Kate,

We received your letter. We will inquire with the Treasury Department about these materials and get back to you.

Thanks,
Jonathan

Jonathan Kravis
Deputy Chief, Fraud and Public Corruption Section
U.S. Attorney’s Office for the District of Columbia
202‐252‐6886

From: Seikaly, Kate J <KSeikaly@ReedSmith.com>
Sent: Wednesday, June 5, 2019 4:56 PM
To: Kravis, Jonathan (USADC) <JKravis1@usa.doj.gov>; Curtis, Deborah (USADC) <DCURTIS4@usa.doj.gov>; Rakoczy,
Kathryn (USADC) <KRakoczy2@usa.doj.gov>; Alpino, Heather (NSD) (JMD) <Heather.Alpino@usdoj.gov>
Cc: Dubelier, Eric A. <EDubelier@ReedSmith.com>
Subject: Concord Discovery Request

Counsel,

Please see the attached letter.

Thank you,
Kate

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Kate Seikaly
703.641.4231
kseikaly@reedsmith.com

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